                      IN THE UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF ALASKA



GAIL WATSON-JOE and WALLACE JOE,   )
SR.,                               )
                                   )
                      Plaintiffs, )
                                   )
     vs.                           )
                                   )
UNITED STATES OF AMERICA,          )
                                   )                 No. 3:10-cv-0124-HRH
                       Defendant. )
___________________________________)



                                     O R D E R

                                  Case Dismissed

        Pursuant to the stipulation of the parties,1

        IT IS HEREBY ORDERED that the complaint is dismissed with

prejudice, each party to bear its own costs, expenses, and attorney

fees.

        DATED at Anchorage, Alaska, this 8th day of February, 2012.


                                               /s/ H. Russel Holland
                                               United States District Judge




        1
         Docket No. 12.

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